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                              UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,
                                                  Case No. 1:22-cr-00056-SWS
               Plaintiff,

       vs.                                        GOVERNMENT’S MOTION TO
                                                  EXCLUDE IMPERMISSIBLE
                                                  CHARACTER EVIDENCE
JOSEPH ALAN HOADLEY,

               Defendant.


       The United States anticipates that Defendant Joseph Alan Hoadley will attempt to

introduce impermissible character evidence during trial. The Federal Rules of Evidence place

restrictions on the use of character evidence in a criminal case by requiring that any such evidence

be pertinent to the crime charged and be offered in the form of opinion or reputation testimony.

Consistent with these rules, the United States of America, by and through the undersigned

attorneys, respectfully seeks an in limine order: (1) excluding evidence of any specific instances

of the Defendant’s good character; and (2) precluding the use of character evidence calculated

to induce jury nullification or likely to achieve that result.



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I.     Evidence of specific examples of the Defendant’s good character should be excluded
       because character evidence is not relevant to the charged offense.

       The Federal Rules of Evidence allow a party to introduce evidence of pertinent traits of

character, Fed. R. Evid. 404(a), through, in this context, “testimony as to reputation or by

testimony in the form of an opinion,” Fed. R. Evid. 405(a)–(b).1 Which is to say: evidence of

specific acts that form the basis for that opinion or reputation is not admissible and violates

Federal Rule of Evidence 405(a). United States v. Barry, 814 F.2d 1400, 1403 (9th Cir. 1987).

Thus, a character witness cannot offer specific instances of conduct by a defendant which would

tend to support the reputation of the defendant. See United States v. Giese, 597 F.2d 1170, 1190

(9th Cir. 1979) (recognizing that character witnesses must restrict their direct testimony to

appraisals of defendant’s reputation); United States v. Hedgecorth, 873 F.2d 1307 (9th Cir. 1989)

(“[W]hile a defendant may show a character for lawfulness through opinion or reputation

testimony, evidence of specific acts is generally inadmissible.” (citation omitted)). See also Fed.

R. Evid. 405 advisory committee’s note (“The express allowance of inquiry into specific

instances of conduct on cross-examination in subdivision (a) and the express allowance of it as

part of a case in chief when character is actually in issue in subdivision (b) contemplate that

testimony of specific instances is not generally permissible on the direct examination of an

ordinary opinion witness to character.”).



 1
        Rule 405(b) provides that character may be proved through evidence of specific instances
 of conduct only if “a person’s character or character trait is an essential element of a charge,
 claim, or defense,” Fed. R. Evid. 405(b), an exception that does not apply in § 242 prosecutions.
 See United States v. Krug, No. 14-CR-102S, 2016 WL 7045937, at *3 (W.D.N.Y. Dec. 2, 2016)
 (ruling that defendant-officer’s purported “respect and protection of the Constitution” was not a
 relevant character trait in a § 242 prosecution); United States v. Dellinger, No. CR-13-00065, 2013
 WL 5929946, at *3 (D. Ariz. Nov. 5, 2013) (ruling that evidence of how the defendant-officer
 “does his job” was not a relevant character trait in a § 242 prosecution).
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       By operation of these rules, evidence of any award, positive evaluation, or good act

supporting a character witness’s perception of the Defendant as a good police officer is

inadmissible. See United States v. Navedo-Ramirez, 781 F.3d 563, 569 (1st Cir. 2015) (affirming

exclusion of defendant-officer’s performance evaluations, reasoning that “the character trait

that the evaluations purport to show—general competence at her job as a police officer” was

not pertinent to the charges); United States v. Brown, 503 F. Supp. 2d 239, 243 (D.D.C. 2007)

(excluding evidence of a defendant-officer’s commendations because they are “neither opinion

nor reputation testimony and accordingly are more akin to specific instances of conduct” barred

by Rule 405); United States v. Washington, 106 F.3d 983, 999–1000 (D.C. Cir. 1997) (per curiam)

(holding that the trial court properly excluded evidence of a defendant-officer’s awards and

commendations); United States v. Nazzaro, 889 F.2d 1158, 1168 (1st Cir. 1990) (holding that the

trial court properly excluded evidence of a defendant-officer’s awards and commendations);

United States v. Warren, No. 10-154, 2010 WL 4668345, at *3 (E.D. La. Nov. 4, 2010)

(excluding evidence of defendant-officer’s rescue missions during Hurricane Katrina as

“inadmissible evidence of specific instances of conduct”).

II.    Character evidence tending to induce jury nullification likewise should be excluded.

       It is a common defense strategy in excessive force prosecutions to offer evidence or

argument calculated to induce jury nullification. Courts have “categorically reject[ed] the idea

that, in a society committed to the rule of law, jury nullification is desirable or that courts may

permit it to occur when it is within their authority to prevent.” United States v. Thomas, 116 F.3d

606, 615 (2d Cir. 1997). As recognized by the Ninth Circuit, “anarchy would result from

instructing the jury that it may ignore the requirements of the law.” United States v. Powell, 955


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F.2d 1206, 1213 (9th Cir. 1991).

       “Whether grounded in the Sixth Amendment’s guarantee of compulsory process or in the

more general Fifth Amendment guarantee of due process, the Constitution guarantees criminal

defendants a meaningful opportunity to present a complete defense.” United States v. Brown, 859

F.3d 730, 733–34 (9th Cir. 2017) (internal quotation marks omitted). Neither a defendant nor

his attorney, however, possesses a “right to present evidence that is irrelevant to a legal defense

to, or an element of the crime charged.” See United States v. Scarmazzo, 554 F. Supp. 2d 1102,

1108 (E.D. Cal. 2008); see also Chandler v. Florida, 449 U.S. 560, 574 (1981) (“Trial courts must be

especially vigilant to guard against any impairment of the defendant’s right to a verdict based

solely upon the evidence and the relevant law.”) (emphasis added). Relevant evidence includes only

those materials that have “the tendency to make the existence of any fact that is of consequence

to the determination of the action more or less probable than it would be without the evidence.”

Fed. R. Evid. 402.

       The consideration of irrelevant evidence increases the threat of jury nullification, which

occurs when jurors substitute personal sympathies or individual conceptions of justice over that

of which the facts and the law provide. See United States v. Kleinman, 880 F.3d 1020, 1031 (9th

Cir. 2017) (approving portions of an instruction that admonished jurors against “substitut [ing]

your sense of justice, whatever that means, for your duty to follow the law, whether you agree

with it or not. It is not for you to determine whether the law is just or whether the law is

unjust”). This threat is realized when a jury, faced with such irrelevant and non-probative

evidence, makes an unreviewable decision to “acquit[] a defendant, even though the government

proved guilt beyond a reasonable doubt.” See id. District courts therefore have a “duty to


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forestall or prevent” the threat of jury nullification by “firm instruction or admonition,” or by

pre-trial determinations that certain facts and arguments would tempt juries to exercise

nullification. See id.; see also Scarmazzo, 554 F. Supp. 2d at 1108 (noting that the district court had

granted motions in limine to exclude certain nullification-targeted defenses); United States v. King,

No. CR-08-002-E-BLW, 2009 WL 1045885, at *3 (D. Idaho Apr. 17, 2009) (reserving judgment

on individual items of evidence but admonishing that “[t]he Court will exclude any irrelevant

evidence or argument designed to achieve jury nullification, as it may arise at trial”). Courts

exercising this duty have prohibited nullification-related arguments at all phases of trial, from

closing argument, see, e.g., United States v. Trujillo, 714 F.2d 102, 106 (11th Cir. 1983) (“[D]efense

counsel may not argue jury nullification during closing argument.”), to the cross-examination of

witnesses, see, e.g., United States v. Cropp, 127 F.3d 354, 358 (4th Cir. 1997) (noting a district

judge’s authority “to impose reasonable limits upon cross-examination” to avoid jury

nullification).

         Embracing that principle, courts have repeatedly excluded evidence in excessive-force trials

on the grounds that it encouraged jury nullification. See, e.g., United States v. Rushin, 844 F.3d

933, 940–42 (11th Cir. 2016) (affirming district court’s exclusion of evidence of jail’s poor

working conditions and inmate violence, in prosecution of correctional officers for retaliatory

inmate beatings, on the basis that such evidence encouraged jury nullification). Just as the

prosecution may not argue to the jury that it should convict because the defendant is a bad

person, Old Chief v. United States, 519 U.S. 172, 181 (1997), neither is the defense permitted to

suggest that the jury should overlook the defendant’s use of excessive force because he was

otherwise a good police officer, see United States v. Perez, 86 F.3d 735, 736 (7th Cir. 1996) (Posner,


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J.) (“[T]he defendant has no right to invite the jury to act lawlessly.”); United States v. Melton,

No. 3:08cr107-DPJ-LRA, 2008 WL 4829893, at *2 (S.D. Miss. Nov. 4, 2008) (excluding

evidence of a defendant-officer’s reputation for fighting crime on the ground that it was “aimed

at inducing jury nullification”). For those reasons, the defense should be precluded from

making the following three types of improper argument calculated to induce jury nullification:

(A) the Defendant has been punished enough for his misconduct; (B) the prosecution is political

in nature or the federal government should not meddle in state affairs; and (C) the victim of the

assault, B.H., got what he deserved.

       A.      The Defendant has been punished enough for his misconduct and does not
               deserve to go to jail

       As the Ninth Circuit jury instructions recognize, any reference to a defendant’s

punishment as a reason for acquittal is improper and should not be permitted. See NINTH CIRCUIT

PATTERN JURY INSTRUCTIONS (CRIMINAL CASES) § 6.22 (March 2022) (“The punishment provided by

law for this crime is for the court to decide. You may not consider punishment in deciding

whether the government has proved its case against the defendant beyond a reasonable doubt.”).

It follows that it would be improper for the defense to argue or insinuate that the Defendant

should be acquitted on the basis that he has been punished enough for his misconduct, United

States v. Lynch, 903 F.3d 1061, 1081 (9th Cir. 2018), or that if he is convicted, he will likely go to

jail, United States v. Manning, 79 F.3d 212, 219 (1st Cir. 1996) (“[A] district court may not

instruct the jury as to its power to nullify. An attorney’s attempt to achieve the same end

indirectly, by arguing the severity of the punishment to the jury, is equally impermissible.”)

(citations omitted).



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       B.     The prosecution against the Defendant is political in nature or that the federal
              government should not meddle in state affairs

       The defense likewise should be precluded from arguing that this prosecution is political

in nature or that the federal government should not meddle in state affairs, as such arguments

do not address the merits of the case but rather distract from them. See United States v. Duran,

596 F.3d 1283, 1288–89 (11th Cir. 2010) (affirming district court’s exclusion of evidence that the

defendant “was the subject of a political prosecution,” as such an argument “would be an

invitation for improper jury nullification”); United States v. Johnson, 605 F.2d 1025, 1030

(7th Cir. 1979) (affirming the exclusion of evidence offered to show that the “indictment was a

political instrument”); United States v. Cardarella, No. 07-00007-02/03-CR-W-FJG, 2007 WL

2507751, at *1–3 (W.D. Mo. 2007) (granting government motion to exclude terms such as

“political witch hunt” and “political terrorism” as well as references to alleged scandals within

the Department of Justice).

       C.     The victim, B.H., got what he deserved

       Finally, the defense should be precluded from arguing or insinuating to the jury that victim

B.H. is a bad person who got what he had coming or otherwise deserved to be punched while

handcuffed. See Rushin, 2016 WL 7383970 (“[T]he defendants’ logic implied that due to the

harsh conditions at MSP defendants were justified in beating handcuffed prisoners they had

brought to camera-free location.”); Cummings v. Malone, 995 F.2d 817, 824 (8th Cir. 1993)

(affirming exclusion of evidence, in excessive force lawsuit, that the inmate-victim had

previously assaulted a prison guard, reasoning that it might lead a jury to conclude that he

“deserved what he got”); United States v. Aguilar, 242 F. App’x 239, 247 (5th Cir. 2007)

(unpublished) (affirming exclusion of evidence, in prosecution of police officer for assaulting an
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arrestee, that the arrestee was a bad guy who “deserved what he got,” citing the “potential unfair

prejudice”); Tolliver v. Gonzalez, No. 10C1879, 2011 WL 5169428, at *2 (N.D. Ill. Oct. 31, 2011)

(“What would not of course be appropriate for jury consideration would be any notion that a

physical altercation between the Tollivers before the officers arrived would somehow justify [the

officers’] imposition of excessive force on Tolliver (on some notion that he deserved what he

got).”).

                                          CONCLUSION

       This trial is not a referendum on the character of the Defendant or B.H. Rather, the jury

must determine whether the Defendant willfully used excessive force against B.H. on the day of

his arrest. To that end, and consistent with the Federal Rules of Evidence, the United States

respectfully requests an in limine order: (1) excluding evidence of specific instances of the

Defendant’s good character; and (2) precluding the defense from arguing, explicitly or implicitly,

that the jury should nullify because of the defendant’s good character or the victim’s bad

character.

                      Respectfully submitted this 17th day of August, 2022.

                                                 JOSHUA D. HURWIT
                                                 UNITED STATES ATTORNEY
                                                 By:

                                                 /s/ Katherine L. Horwitz
                                                 KATHERINE L. HORWITZ
                                                 Assistant United States Attorney

                                                 /s/ Francis J. Zebari
                                                 FRANCIS J. ZEBARI
                                                 Assistant United States Attorney




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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on August 17, 2022, the foregoing GOVERNMENT’S

MOTION TO EXCLUDE IMPROPER CHARACTER EVIDENCE was electronically filed

with the Clerk of the Court using the CM/ECF system, and that a copy was served on the

following parties or counsel by:


                                                    /s/ Katherine Horwitz
                                                    Assistant United States Attorney




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